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STATE OF MICHIGAN

IN THE DISTRICT COURT FOR TI-IE EASTERN DISTRICT OF
MICHIGAN

SOUTHERN DIVI SION

PEOPLE oF THE UNITED sTATEs oF AMERICA,
Piaintiff,

vs. 2: 1 7-cr-20439-LJM-DRG
HON. LAURIE J. MICHAELSON
LAWRENCE DAVIS,
Defendant,

 

DAVID J. KRAMER (P 46342]
Attorney for Dei`endant

42400 Grand River Ave., Suite 109
Novi, Michigan 4837 5

(248) 348-7400

/

MOTION TO WITHDRAW AS COUNSEL

 

NOW COMES the above-named Attorney, David J. Kramer, and
for his Motion To Withdraw as Counsel states as follows:
1. The Defendant hired the undersigned attorney land the
undersigned attorney negotiated a plea for the Defendant, had
numerous conversations with the Defendant and Went to court for the
Defendant.
2. The Defendant has failed and neglected to fulfill his obligations
to his attorney or to take his attorney’s advice.
3. The relationship between attorney and client has broken down
to the extent that it cannot be repaired.

WHEREFORE, Defendant’s attorney respectfully requests that

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this Honorable Court enter an order allowing Defendant’s attorney to

Withdraw as counsel

Dated: May 9, 2018

PROOF OF SERVICE

Respectfully submitted,

/s/ David J. Krarner
DAVID J. KRAMER (P46342)
Attorney for Defendant
42400 Grand River Avenue, Suite 109
Novi, Michigan 48375
(248)-348-7400

The undersigned certifies that a copy of
the foregoing instrument was served upon
the attorneys of record of all parties and all
parties to theabove cause, by mailing

the same to them

at their respective addresses as disclosed
by the pleadings herein, with postage fully

prepaid thereon on May 9, 2018

[s[ David J. K_ralner
David J. Kramer

